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                     EXHIBIT 6

              (Filed Under Seal)
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                                                                     Page 1
                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                    Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                    Defendant.


      -------------------------------------------x


                                    May 18, 2016
                                    9:04 a.m.


                     C O N F I D E N T I A L
            Deposition of JOHANNA SJOBERG, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.




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                                                                     Page 45
 1          Q.     And what -- do you recall any observations
 2    about Jane Doe 2     when you met her?
 3          A.     To speak with, she was a little rough
 4    around the edges, and I could see the progression of
 5    her being groomed a little.          They got her braces.
 6    She had terrible posture.         And with a lot of
 7    massages, she learned to stand up straight.              So I
 8    just saw her become a much more confident person.
 9          Q.     Do you recall how old she was when you
10    first met her?
11          A.     I assumed she was 18, but I do not know
12    her age.
13                 MS. McCAWLEY:      We're going to take a break
14          really quickly and then we will be back.                 So we
15          are going to go off the record.
16                 THE VIDEOGRAPHER:       Off the record at 9:48.
17                 (Thereupon, a recess was taken, after
18          which the following proceedings were held:)
19                 THE VIDEOGRAPHER:       On the record at 9:58.
20    BY MS. McCAWLEY:
21          Q.     I'm just going to resume.         I have a few
22    more questions for you.
23                 You mentioned visiting the US Virgin
24    Islands.
25                 Do you recall doing any activities with




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                                                                 Page 159
 1                         CERTIFICATE OF OATH
 2    STATE OF FLORIDA           )
 3    COUNTY OF MIAMI-DADE )
 4
 5                   I, the undersigned authority, certify
 6        that JOHANNA SJOBERG personally appeared before me
 7        and was duly sworn.
 8                   WITNESS my hand and official seal this
 9        18th day of May, 2016.
10
11
                             KELLI ANN WILLIS, RPR, CRR
12                           Notary Public, State of Florida
                             My Commission No. FF911443
13                           Expires: 2/16/21
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